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June 15, 2025

VIA EMAIL & ECF
Hon. Arnn Subramanian
United States District Judge
Southern District of New York
500 Pead Street
New York, NY 10007

       Re:      United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

      The defense submits this letter in further su ort of its vioorous o osition to strikin
         -a black man
       Mr. Combs ~ould be subst~tially prejudiced by the dismiss~} of~his juror, and because
         factual basis to remove him, under Fazio the Court lacks discretion to do so.
Moreover if the su osed inconsistencies in his answers to the Court's uestions were trul of



      , we respect y request t at a nnstna e ec are .
refused to find any discriminato1y motive in the government's actions with respect to its
peremptmy strikes or this motion. However we respectfully, and regrettably, disagree. The
government's motion must be evaluated in light of the entire histo1y of this investigation and
prosecution, and not in isolation. Unfortunately, when considered against that background it is
impossible to believe that this motion is merely a good-faith attempt to raise a valid question
about the juror's integrity rather than an effort to take advantage of an oppo1iunity to strike yet
another black male from the jury.

     A.         There Is No Valid Basis To Dismiss The Juror

      To begin with, as the Com1 noted during the morning session on Friday, it does not have
discretion to remove a juror ''where there's a bias in the removal of the juror, or where there
would be prejudice to the defendant with prejudice meaning that the discharge is without factual
suppmt or for a legally inelevant reason." Tr.6025-26· see generally United States v. Fa::::io 770
F.3d 160, 170 (2d Cir. 2014) (describing this standard). Here, there would be significant bias
and prejudice to the defendant and there is no factual support for dismissing the juror.

     First there is no question Mr. Combs would be severely prejudiced if the juror in question
were removed and replaced by the first alternate. We have previously pointed out that this juror
is one of only two black men on the jmy but it should also be noted that he is the juror who is
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                        Moreover this case involves serious charges of sexual misconduct against
women who were in relationships with Mr. Combs. As the opening statements and the witness
testimony have revealed, the principal dispute between the parties is whether Cassie Ventura and
Jane willingly paiiicipated in the sexual activity at issue during their relationships with Mr.
Combs, for their own reasons and because they chose to do so or whether as the government
claims, they were coerced. The fairness of the trial depends in paii on having jurors with
backgrounds similar to Mr. Combs shai·e their perspectives on the evidence with other jurors
from diverse backgrounds during deliberations. Removing this pai·ticular juror will deprive Mr.
Combs of that impmiant perspective and it is no answer to simply say that there ai·e other black
jurors, or other males, on the jury.

     Second, there is no factual support for the government's position, or respectfully, the
Court' s statements Friday afternoon- which were in stai·k conflict with the Comi's appai·ent
recognition Friday morning that the purported inconsistencies were likely completely benign. As
we explained at length in our letter of June 12 on this topic, there were no material
inconsistences with respect to anything Juror -       said dming voir dire and in the June 9
colloquies. And the juror's willingness to perfmm this public service and his civic duty should
be considered a positive, rather than a negative, factor. There is no evidence whatsoever that he
had an agenda or a bias in favor of either paiiy and no legitimate reason to jump to that
conclusion.

      Indeed, the Comi had an oppmiunity to assess the juror's demeanor not only during voir
dire, but also at closer proximity in the robing room dming the two colloquies on June 9. The
Comi never suggested at that time, or at any time before Friday afternoon, that it had any reason
to doubt that the juror was doing his best to be forthright and honest with the Court. During
Friday' s morning session after having reviewed both paiiies' submissions, including the
government' s lengthy quotes from the relevant transcripts (see June 11 Letter at 2-5), the Comi
indicated it was inclined to agree that there was "an insufficient basis" to find that the juror was
being "deceitful, and intentionally so," as the government chai·ged:

               And so the defense's submission is really that the answers given
               the nature of the inquiiy both in jrny selection and during the
               crnTent process, was vague enough so that the answers could easily
               be reconciled with each other. And the subject matter of what was
               being adch-essed is so far afield from the juror's perfmmance of
               duties that that 's not a reason to remove the juror.
               The real suggestion from the government as to the reason why the
               juror should be removed is because if you take the inference
               against the juror' s credibility, there is a view that if you can't
               reconcile the answers and the juror was being deceitful and
               intentionally so either in jmy selection or in the colloquy in the
               robing room, then that would be grounds to disqualify the juror.
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               For that to happen, we would need to have a further inquiry with
               the juror, because on the current record, there’s an insufficient
               basis to make that determination. And in terms of how we view
               the inquiry postjury selection, I think that there’s a difference. I
               think that when we address these types of questions during the
               juror selection process, there may be an inkling or a suggestion that
               there’s a reason to disqualify a juror for cause. And that has one
               standard, but it’s before the exercise of peremptory challenges and
               impaneling of the jury. And so that has one standard.
               I think the defense’s suggestion, and I think it’s consistent with a
               lot of the cases, is that that default actually flips once you have
               the jury actually in the box and you have a regular jury and
               alternates. At that point you need something more to disqualify a
               juror. And the cases cited by both sides have situations presented
               that are far more extreme than what’s been presented here.
Tr.6026-27.

        Moreover, although the Court indicated a preference for further inquiry, it specifically
noted: “I think that it is likely that what we will hear will be a perfectly innocent explanation for
the answers. I don’t think that they’re irreconcilable. I think that for the reasons that the
defense has stated, there’s a way to reconcile the entire record.” Tr.6028. The Court also
noted that the “only reason why this situation even came up is because of a statement that was
made on the juror’s own volition to jury department staff in a friendly and in an offhand banter.”
Tr.6029. The Court further observed:

               And there’s perhaps an understandable way to reconcile all of
               these issues, which is that I believe that the question that was
               initially asked during voir dire, during the group proceeding, was
               where do you live, and then kind of who do you live with? But
               based on the answers that were being given by the group, it could
               have been that the juror thought where do I live, I live in the
               Bronx, and that would be consistent with everything that we’ve
               heard, because he indicated that he had moved out of the Bronx in
               the last two weeks, and there might be some ambiguity about how
               much time he was spending in each place. But that’s at least what
               he said.
               As to the second question he might have understood it to be who is
               in your family group. As to that question he indicated his fiancée
               and his baby daughter. And so you can reconcile these things, and
               given what we’re talking about, which is where do you live and
               kind of basic questions, it would be surprising that someone would
               try to make up something about it. Maybe even if there was some
               inconsistency it wouldn’t rise to the level of removal of a juror,
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                  given the various constitutional and other rights that the defendant
                  enjoys.
Tr. 6033-34.1

        The defense expressed concerns about any further inquiry because of the likely negative
and intimidating impact it could have on the juror, Tr.6031, especially after the government
started suggesting a line of inquiry that could lead to a concern that the juror’s employment was
somehow in jeopardy, Tr.6035-36. In response to the Court’s comments, the government
ultimately stated “that the most prudent thing to do to ensure the integrity of the proceedings
would be to … have additional inquiry.” Tr.6035. It endorsed further fact-finding, stating that
such “fact-finding” was “necessary … to ensure the integrity of the proceedings.” Tr.6036. The
Court said it would consider the parties’ arguments and whether to conduct further inquiry later.
Tr.6036-37.

        In light of the discussion in the morning, the defense was stunned when the Court
announced at the end of the day—in stark contrast to its extensive earlier remarks about why
there was “an understandable way to reconcile” the juror’s answers—that it believed the juror
was either “unable to follow simple instructions and answer simple questions” or was “shad[ing]
the truth or being deceptive,” and would dismiss the juror without further inquiry. Tr.6223.
Respectfully, there is simply no evidence to support the Court’s very serious accusation, or its
stated concern about the juror’s ability to “fairly and impartially apply the rules of law of the
court to the facts of this case, to consider the evidence in a fair way, and to follow the
instructions of the Court.” Tr.6225.

        The Court later stated that when the juror said he had a New York license and still
maintained his residence in the Bronx, this was somehow nefarious and “suggest[ed] an effort
to…try to get onto the jury.” Tr.6234. But the juror was already on the jury and had sat through
over four weeks of trial. Having been willing to serve, which many citizens aren’t, and having




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dutifully devoted all this time to attending the trial, why would the juror not want to complete his
service? Why would he not emphasize that he is still a legal resident of New York, even if he
spends several nights a week
     ? There is not a shred of evidence that he had a pre-existing agenda when responding to voir
dire questions—as opposed to a willingness to do his civic duty, and the statements the Court
cited were made after weeks of service, not at the outset. 2




1
  This was consistent with the Court’s initial impression of the juror’s responses during the June 9 colloquies, when
the Court had the benefit of observing the juror’s demeanor. June 9 Sealed Tr.4962 (“




                                                                      -
                                           ”).
2
  Additionally, the Court cited United States v. Arline, 660 F. App’x 35, 39-40 (2d Cir. 2016), as support, but that
case involved a juror’s inconsistent answers about misconduct—the juror had “listened and watched a proceeding
not meant for the jury.” Tr.6219. There is no reason to believe Juror         has failed to follow the Court’s
instructions not to discuss the case with others or view media reports about the case or engaged in any other
prohibited conduct during the trial.
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        Should the Court exclude Juror -        on the current record, it will no doubt have a
chilling effect on minority jurors ' willingness to serve in the future-a step in the wrong
direction. The government has previously argued that racial disparities in jmy service exist
because black and Hispanic people "dispropo1tionately fail[] to respond to jmy qualification
questionnaires." United States v. Slaughter, 110 F.4th 569, 585 (2d Cir. 2024). But Jmm -
answered the call and is dutifully pe1fonning what the Court stated was a "tremendously
impo1tant task" recognized by "[t]he Constitution itself." Tr.102. We should invite his
service-as well as the service of other potential jurors in his community-not discourage it.
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       B.      The Government's Motion Continues A Pattern Of Overreach, Suggesting A
               Discriminatory Motive In Challenging Juror .

      Although the CoUI1 denied our Batson challenge and said it found no basis to suggest the
government had a discriminatmy motive when it sought to s1I-ike Juror -        we believe that
motive is supp011ed not only by its remarkable decision to use 7 of its 9 peremptory strikes on
black jurors but also by the histo1y of the investigation and prosecution, which has been
characterized by extr·eme government oveITeach from the beginning.

      1. Perempto,y Challenges During Jury Selection

      The CoUii accepted the government's proffered reasons for its peremptmy strikes of black
jurors as race neutral. Voir Dire Tr.781. Nonetheless, it is impmiant to note that for many of
these jurors, the purported reasons themselves were based on the jurors ' or their relatives '
interactions with law enforcement, including prior convictions. But it is well-documented that
there is a long histmy of systemic discrimination that has led to mass incarceration of black and
Hispanic people in this country, and of discrimination in how law enforcement u·eats them in
comparison with white people. See, e.g. , Floyd v. City ofNew York, 959 F. Supp. 2d 540, 561
(S.D.N.Y. 2013) (describing historic "heightened police enforcement" of black and Hispanic
people in this district). Moreover a 2022 study of 3,200 innocent defendants exonerated in the
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U.S. since 1989 revealed that “Black Americans are seven times more likely than White
Americans to be falsely convicted of serious crimes.” 4

       Citing a prospective juror’s former conviction, or their relative’s former conviction, or the
fact that they have had negative interactions with the police, only reinforces the race
discrimination that led to the overinvestigation and overprosecution of blacks and other
minorities in this country. People should not be precluded from serving on juries because of a
prior conviction, or a relative’s prior conviction, or the fact that they had a bad experience when
the police stopped their car on a pretext or conducted a stop-and-frisk on a pretext. Indeed, if
they had a negative experience with the justice system, that is a perspective that is important and
useful for a diverse jury. For these reasons, in recent years courts—like the Washington State
Courts—have implemented rules foreclosing the use of a peremptory because a juror has had
“prior contact with law enforcement officers” or has a “a close relationship with people who
have been stopped, arrested, or convicted of a crime.” Washington State Court Rules: General
Rule 37(h).

      Here, the government justified several of its strikes on this sort of basis. For instance, it
said one reason for the first strike was that the juror “had a fiancé that served four years in prison
for a drug conviction.” Voir Dire Tr.775. A reason supplied for the second strike was that “he
had been arrested three times, including for harassing a police officer.” Voir Dire Tr.776. The
fourth strike was a juror “whose ex-husband had spent 21 years in prison for attempted …
murder,” and “remained close with him,” and “had a brother who had been incarcerated for two
years based on a drug conviction.” Voir Dire Tr.777. The government justified its fifth strike in
part on the basis that the juror “had two brothers who each did time in prison for felony
convictions.” Voir Dire Tr.778. Another strike cited “inconsistent explanations of interactions
with the police.” Voir Dire Tr.780.

      2. History Of Investigation And Prosecution

      For starters, it is notable that Mr. Combs, one of the most successful and self-made black
men in America, and a person who was an icon not just in the black community, but in the music
industry, the fashion industry, and otherwise, was indicted by the SDNY’s Civil Rights Unit.
When the unit was established, former U.S. Attorney Damien Williams was quoted as saying:
“White supremacist groups are on the march. Antisemitism is on the march. Anti-Asian
violence is on the march. Abuse of the most vulnerable in our society is on the march.” 5 But
this prosecution has nothing to do with civil rights enforcement. What is being prosecuted is
allegations about private sexual activity Mr. Combs engaged in with two of his former girlfriends
and third parties.


4
  Study Shows Race Is Substantial Factor in Wrongful Convictions, Equal Justice Initiative (Dec. 28, 2022),
https://eji.org/news/study-shows-race-is-substantial-factor-in-wrongful-convictions/.
5
 Manhattan U.S. Attorney Forms New Civil Rights Unit, New York Times (Nov. 19, 2021),
https://www.nytimes.com/2021/11/19/nyregion/damian-williams-civil-rights.html?smid=nytcore-ios-
share&referringSource=articleShare&sgrp=p&pvid=4E5FB94E-5CD0-422B-8A40-24293308B47E.
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         All of this was part of a coordinated effort to try to destroy one of the most successful
black men in American history. All of Mr. Combs’s ventures are entirely legitimate, and the
government has never suggested otherwise. Instead, the government’s case is all about his
personal life, and what he and his romantic partners have done in the privacy of the bedroom. As
the trial has shown, the most significant evidence against Mr. Combs involves domestic violence
incidents normally dealt with by local authorities or family courts. Yet the prosecutors have
made a federal “civil rights” case out of how Mr. Combs and his former girlfriends conducted
their private sex lives. The theory of prosecution not only has nothing to do with civil rights
enforcement, but it is also unprecedented. Indeed, we are unaware of any other federal criminal
case charging racketeering or sex trafficking based on allegations that a man and his past long-
term, adult girlfriends sometimes brought a third party—a male “escort” or “entertainer”—into
their sexual relationship.

       Since its inception, the case has been rife with overreach and unusually aggressive tactics
normally reserved for prosecutions of violent gangs, organized crime, and terrorism:

   • The Purported Victims Never Complained To Law Enforcement. Ms. Ventura’s lawsuit
       was settled for $20 million, and she never made any complaint to SDNY or any other law
       enforcement agency. Nor did Jane—indeed, the government labeled her a “victim” in
                                    and bail arguments long before it had even interviewed her.
       And she claims to have testified only because she was compelled to by subpoena.

   • The Government Has Devoted Enormous Resources To This Case. The undersigned are
       not aware of any other recent case involving more than five AUSAs, and here we have
       six at trial, along with two “filter team” AUSAs and multiple actively involved
       supervisors. Additionally, the Department of Homeland Security assigned multiple
       agents to the case, and numerous other agents have assisted at various points, including
       hundreds of heavily armed agents in combat gear who executed military-style raids,
       complete with armored vehicles, on Mr. Combs’s Los Angeles and Miami homes in
       March 2024. And the government also apparently retained a highly paid jury consultant
       in this case, which is exceedingly rare for the government to do—a consultant who may
       well be advising the prosecutors in connection with the instant motion.

   • The SDNY Refused To Engage With Defense Counsel During The Investigation. Mr.
       Combs’s lawyers approached prosecutors as soon as they learned of the investigation
       (even before the warrants were executed) and requested an opportunity to meet. Yet the
       SDNY refused then and repeatedly refused thereafter to engage with counsel
       substantively throughout the investigation and leading up to Mr. Combs’s arrest in
       September 2024. The prosecutors also refused to allow Mr. Combs to voluntarily
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        surrender, presumably to create another media spectacle like the one orchestrated during
        the raids discussed below. 6

    • The SDNY Used Misrepresentations And Material Omissions In Warrant Applications.
        Although the Court denied our Franks motion, see Dkt.160, the defense has documented
        how the SDNY obtained the March 2024 warrants to search Mr. Combs’s homes, person,
        and all his electronic devices using materially misleading applications. They omitted
        extensive evidence undercutting the credibility of Ms. Ventura and other witnesses the
        warrant applications relied on to establish probable cause. For instance, when obtaining
        the warrants the government completely disregarded extensive evidence then in its
        possession showing Mr. Combs’s and Ms. Ventura’s relationship was, though at times
        toxic, consensual and loving. The applications also relied on several other witnesses the
        prosecutors later admitted were not credible. These witnesses were part of a feeding
        frenzy of grifters who were trying to extract money from Combs after the Ventura lawsuit
        became public. Yet the prosecutors failed to disclose the financial motives of these
        witnesses and concealed exculpatory evidence that the government had in its possession
        when it sought the warrants.

    • Investigators Used Excessive Force And Created A Media Circus During The Raids Of
        Combs’s Homes. The search warrants were executed in a manner calculated to garner
        press attention, sensationalize the case, falsely portray Mr. Combs as dangerous, and taint
        any future jury pool. Agents leaked the government’s plans to the press in advance to
        maximize media coverage and put on a show. The agents used excessive force against
        Mr. Combs’s children, who were in his home, doing nothing wrong. One agent held a
        semi-automatic rifle to the head of Christian Combs, even though he was visibly
        complying with the agents’ demands; another had a semi-automatic rifle with a laser site
        trained, and the orange dot visible, on the middle of the chest of Justin Combs, who was
        also complying with agents’ instructions. The agents then handcuffed them and paraded
        them in front of news cameras and a TV helicopter invited by the DHS, who were
        waiting to get salacious footage of this staged perp walk of two innocent young men.

    • Investigators Leaked A Steady Drumbeat Of False And Prejudicial Information To The
        Press Until The Court Issued A Broad Gag Order Opposed By The Government.
        Throughout most of 2024, DHS agents repeatedly leaked information about the
        investigation to the media, including extensive amounts of highly prejudicial and
        false information about minors, sex dungeons, cameras in bedrooms, and a host of other




6
 See, e.g., U.S. Attorney’s Office, SDNY Press Release, Sean Combs Charged In Manhattan Federal Court With
Sex Trafficking And Other Federal Offenses (Sept. 17, 2024), https://www.justice.gov/usao-sdny/pr/sean-combs-
charged-manhattan-federal-court-sex-trafficking-and-other-federal-offenses; Sean ‘Diddy’ Combs is arrested in New
York after federal indictment, AP (Sept. 16, 2024), https://apnews.com/article/sean-diddy-combs-arrested-
93831d646c5cf36add77a91ba668ae84.
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           prejudicial information that has caused online conspiracy theories to multiply.7 As the
           Court is aware, the prosecutors repeatedly denied that these leaks emanated from its “case
           team” by describing that team in an artificially limited way, and even opposed a request
           for a gag order that would prohibit all DHS agents, not just the limited few SDNY
           claimed were on the case team, from leaking sensitive information about the case. While
           this litigation was ongoing, the leaks continued unabated. It was only after the Court
           issued the broader gag order the defense sought that the leaks finally ceased—long after
           the jury pool had been deeply tainted. 8 Since then, the government has repeatedly
           invoked the gag order and Local Rule 23.1 to prevent the defense—which has a right to
           try to combat the unfair tsunami of nonstop negative coverage—from any media
           engagement. 9 At the same time, the government has failed to oppose in any way the
           numerous apparent violations of that Rule by alleged victims and their counsel.

       • Prosecutors Insisted On Detaining Combs Even Though He Did Not Present A Risk Of
           Flight Or Danger. The prosecutors insisted on detaining Mr. Combs, even though he
           offered to surrender, traveled to New York once he learned he would be charged, and
           obviously was not a flight risk. They also misled the courts that held the initial detention
           hearings. For instance, they told the District Court the CNN video refuted Mr. Combs’s
           account of the Intercontinental event (that the incident occurred after the couple had an
           argument over Mr. Combs’s relationship and that involved a phone). They said that was




           -
           “just not what happened” and “just another cover-up … just more lies,” 10 even though
           nothing in the trial evidence contradicts the claim that the fight occurred because of
           jealousy in the relationship. They cited a third “victim,” 11 Gina,
                         who the prosecutors have entirely dropped from the case.

       • Prosecutors Surveilled Combs In Jail And Invaded The Defense Camp. The prosecutors
           next took advantage of Mr. Combs’s incarceration to spy on him and invade the defense
           camp, violating his attorney-client privilege and his First Amendment rights. As the
           Court is aware, shortly after Mr. Combs was detained, a BOP investigator began
           monitoring his communications—including calls with his attorneys—and sharing
           information with prosecutors. During an allegedly unrelated October 2024 general sweep
           of MDC-Brooklyn for contraband and evidence of corruption, agents completed their
           search of certain parts of that facility and asked SDNY whether or not they should
           continue their efforts and search Mr. Combs’s unit. An SDNY supervisor told them to
           search Mr. Combs’s unit, because of the government’s interest in Mr. Combs specifically,
           and law enforcement agents proceeded to do so. During the ensuing search the


7
 See, e.g., Dkt.31 at 5-8; Dkt.32-8 (citing headline titled “Diddy ‘as bad as Epstein,’ says officer who saw his sex
rooms, hidden cameras during Miami mansion raid”).
8
    See Dkt.50.
9
    See Dkt.319.
10
     9/18/24 Tr.12.
11
     See Dkt.69 at 21.
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           investigator who had been working with the prosecutors confirmed there was no
           contraband among Mr. Combs’s personal effects but nonetheless rifled through his
           possessions and photographed Mr. Combs’s notes reflecting conversations with his
           attorneys and ideas for defense strategy. The investigator then told a member of the case
           team about the notes and turned them over to SDNY, which tried to use them to oppose a
           renewed bail application, claiming they showed Mr. Combs was trying to obstruct justice.
           The Court granted a defense application to order the prosecutors on the “case team” to
           destroy their copies of the privileged notes. 12

       • Prosecutors Violated Combs’s Free Speech Rights. The prosecutors continued their
           spying and next argued that Mr. Combs’s other writings and communications from MDC
           supposedly involved obstruction, even though these materials were clearly protected by
           the First and Sixth Amendments. 13 Some reflected his participation in defense efforts to
           obtain material that could be used to challenge the credibility of the government’s
           witnesses. Other writings described Mr. Combs’s view that the prosecution is racist and
           his desire to get that message out to counter all the negative media about the case. The
           SDNY even went so far as to claim Mr. Combs’s request that his children post a happy
           birthday message to him on Instagram was an effort to obstruct justice—because Mr.
           Combs hoped it would present him in a more positive light to the public and undo some
           of the taint to the jury pool caused by all the negative publicity ginned up by the
           government and civil plaintiffs’ attorneys. 14

       • Prosecutors Abused A “Filter Team” To Access Privileged Material. The government’s
           invasion of the attorney-client privilege and the defense camp has not been limited to its
           seizure of Mr. Combs’s notes. Throughout the case, SDNY has misused a purported
           “filter team,” which was supposed to ensure that the prosecutors handling the case were
           not exposed to privileged materials on the numerous electronic devices and internet
           accounts the government has seized and searched. Following execution of the March
           2024 warrants, defense counsel provided the prosecutors with the names of attorneys who
           had represented Mr. Combs and his businesses so that potentially privileged materials
           could be segregated from the case prosecutors. Our understanding was that a filter team
           would not provide any potentially privileged materials to the case prosecutors without
           first affording defense counsel the opportunity to review the materials, so that counsel
           could assert privilege if necessary, and so that any privilege disputes could be resolved by
           the Court in camera. Instead, the filter team has repeatedly passed along potentially
           privileged information without first seeking our input, requiring us to claw back
           privileged communications after the case team had already been tainted by exposure to
           these materials.

12
     See Dkt.76 (court’s order).
13
     See Dkt.85.
14
  The Court apparently recognized that these communications were constitutionally protected but did not resolve
that question, instead choosing not to rely on these arguments by the prosecutors when it continued detention. See
Dkt.92; see 11/22/24 Tr.62.
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     .   -Prosecutors Used The Grand Jury To Help Unscrupulous Plaintiffs Obtain Publicity For
         Wildly False Claims. After Mr. Combs’s arrest, while continuing its investigation the
         government publicly paraded witnesses into the Grand Jury to feed nonsensical media
         narratives they knew were false. This created an atmosphere of legitimacy surrounding
         the many false and wild claims about Mr. Combs and the media circus created by
         unscrupulous plaintiffs’ lawyers who have encouraged people to file bogus lawsuits
         against Mr. Combs.

     • Prosecutors Attempted To Introduce Unreliable, Decades-Old, Highly Inflammatory
         Allegations And Used Allegations About Additional “Victims” Who Never Testified To
         Obtain Search Warrants And Seek Detention. The government attempted to prop up its
         case with old, unreliable, and highly prejudicial and inflammatory Rule 404(b) evidence,
         much of which the Court correctly, and fortunately, excluded in granting the defense’s
         motion in limine. And, although the Court denied the motion to exclude the testimony of
         one alleged victim—another girlfriend who had no interaction with any of Mr. Combs’s
         employees or the alleged RICO enterprise—that individual apparently has decided not to
         testify. Likewise, the government spent over a year claiming that Mr. Combs’s former
         girlfriend Gina was a victim and used that allegation to support arguments for bail and to
         obtain warrants, and presumably in the grand jury, even though
                                                   , and the government did not call her as a
         witness. Despite including her in the indictment, the government has not elicited any
         evidence at trial that could possibly support the conclusion that she is a victim.

     • Prosecutors Have Engaged In Other Misconduct During Trial. We recognize that the
         Court has denied our two mistrial motions, but as the Court is aware, we believe the
         government asked inflammatory and highly prejudicial questions of Inspector Jiminez to
         try to suggest Mr. Combs had somehow orchestrated the destruction of fingerprint
         evidence in 2012, and then presented testimony from Cassie Ventura and Bryana




                                                          -
         Bongolan that it knew or should have known was materially false. See Dkt.381.




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        The government’s history of these extremely aggressive tactics in this case is critical
context against which its attempt to remove Juror           must be evaluated. In this case, the
prosecutors have repeatedly flouted their Office’s self-proclaimed “tradition of doing the right
thing, the right way, for the right reasons.” 15 Their pretextual motion to dismiss Juror        is
just one more attempt to gain an unfair advantage at the expense of Mr. Combs’s right to a fair
trial—which is all we ask this Court to preserve.

                                              *       *        *



15
   U.S. Attorney’s Office, SDNY Press Release, U.S. Attorney Damian Williams Announces Anticipated
Resignation From The Southern District Of New York (Nov. 25, 2024), https://www.justice.gov/usao-sdny/pr/us-
attorney-damian-williams-announces-anticipated-resignation-southern-district-new.
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       For the foregoing reasons the Comt should allow Jm-or -     to remain on the jmy. If
the Comt truly believes his statements raise serious concerns ab~ s ability to follow
instrnctions-which we respectfully submit would be an unfair and unsuppo1ted conclusion
based on what were at worst im recise answers to the Comt's uestions then in fairness



                                                                         If the Comt dismisses
                                        , the unfair prejudice from replacing him with the first
                                      mgs wanants a mistrial.


                                                  Respectfully submitted

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